Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 1 of 29




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:20-cv- _______
  JASON KIRSCHENBAUM,
         Plaintiff,
  v.
  STEPHANE DE BAETS, ELEVATED RETURNS, LLC, 315 EAST DEAN ASSOCIATES,
  INC. and ASPEN DIGITAL, INC.
         Defendants.


                       COMPLAINT AND DEMAND FOR JURY TRIAL


         Plaintiff Jason Kirschenbaum (“Plaintiff”) by his undersigned attorneys, Gulko Schwed,

  LLP and Richards Carrington, LLC, as and for his Complaint against defendants Stephane De

  Baets (“De Baets”), Elevated Returns, LLC, 315 East Dean Associates, Inc. and Aspen Digital,

  Inc. (collectively referred to herein as Defendants) hereby states as follows:

                                  PRELIMINARY STATEMENT

         1.      This action stems from a myriad of bad acts by Defendants, including inter alia

  breaches of contract, conversion and clear violations of securities law. As described in detail

  herein, Plaintiff was solicited by Defendants to provide his experience, relationships and money

  to Defendants in connection with a cryptocurrency venture. Yet, despite Defendants profiting

  immensely off the back of Plaintiff, Plaintiff has been left with nothing to show for the many

  years and millions of dollars invested with Defendants.

         2.      Plaintiff invested significant sums of money into the digital token that he and

  Defendants co-created, yet he is unable to redeem such investment despite his repeated attempts
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 2 of 29




  to do so. Recently, it has also become clear that Defendants have engaged in a scheme to

  manipulate the market with respect to such tokens and despite assurances by Defendants (and

  their counsel) that Plaintiff’s investment is safe, all such assurances have been futile.

         3.      The instant action seeks to recover the significant sums of monies invested by

  Plaintiff with Defendants and seeks recourse for the current manipulations in the market that

  affect both Plaintiff’s investment and the investing public.

                                               PARTIES
         4.      At all times hereinafter mentioned, plaintiff Jason Kirschenbaum (“Plaintiff”) was

  and is a citizen of the state of New York.

         5.      Defendant Stephane De Baets (“De Baets”) was and is a citizen of the State of

  Colorado and the principal and chief executive officer of Elevated Returns, LLC. Defendant De

  Baets controls and/or maintains interests in other corporate entities, including the other corporate

  Defendants named herein.

         6.      Defendant Elevated Returns, LLC was formed in the State of Delaware, on March

  1, 2016 and is a foreign limited liability company licensed to do business in the State of

  Colorado. Pursuant to the limited liability company agreement (“LLC Agreement”) of Elevated

  Returns, LLC, dated October 6, 2014, defendant De Baets is its sole members and holds 100% of

  its membership interests.

         7.      Defendant 315 East Dean Associates, Inc. is a Delaware Corporation with its

  principal place of business at 570 Johnson Dr., Aspen, CO 81611.

         8.      Defendant Aspen Digital, Inc. is a Maryland Corporation with its principal place

  of business at 7 St. Paul Street, Baltimore, Maryland 21202.


                                                    2
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 3 of 29




                                     JURISDICTION & VENUE
         9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332(a)

  and 1367.

         10.     The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because

  Plaintiff’s claims “aris[e] under” federal law. 28 U.S.C. § 1331. A “suit arises under the law that

  creates the cause of action.” American Well Works v. Layne, 241 US 257 (1916). To determine

  jurisdiction in federal question cases, the court need only ask “whether—on its face—the

  complaint is drawn so as to seek recovery under federal law or the Constitution. If so, [the court

  should] assume or find a sufficient basis for jurisdiction, and reserve further scrutiny for an

  inquiry on the merits.” Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1189 (2d

  Cir.1996). Here, Plaintiff brings claims under the Securities Exchange Act of 1934, 15 U.S.C. §

  78a, et seq., which arises under federal law.

         11.     Pursuant to 28 U.S.C. 1367, this Court also has jurisdiction over “all other claims

  that are so related to claims in the action within such original jurisdiction that they form part of

  the same case or controversy under Article III of the United States Constitution.” Where, as here,

  a party alleges securities violations that are interconnected with other wrongful conduct,

  supplemental jurisdiction is appropriately exercised. See In re Thornburg Mortg., Inc. Sec. Litig.,

  683 F. Supp. 2d 1236, 1254 (D.N.M. 2010) (affirming exercise of supplemental jurisdiction over

  claims against party accused of breaches of Exchange Act).

         12.     In addition, the Court has diversity jurisdiction because the amount in controversy

  exceeds $75,000.00, and Plaintiff and Defendants are citizens of different states. 28 U.S.C. §

  1332(a).


                                                    3
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 4 of 29




          13.       Specifically, Plaintiff is a citizen of New York, Defendant De Baets is a citizen of

  Colorado, Defendant Elevated Returns is a citizen of Colorado, Defendant 315 East Dean

  Associates is a citizen of Delaware and Colorado, and Defendant Aspen Digital is a citizen of

  Maryland. Accordingly, there is complete diversity between Plaintiff and Defendants.

          14.       Plaintiff seeks damages far in excess of the jurisdictional threshold of $75,000.

          15.       The Court has personal jurisdiction over Defendants because they do business in

  the District of Colorado and have sufficient minimum contacts with the District. Defendants

  intentionally avail themselves of the markets in this State through the promotion, marketing, and

  operations of their platforms at issue in this lawsuit in Colorado, and by retaining the profits and

  proceeds from these activities, to render the exercise of jurisdiction by this Court permissible

  under Colorado law.

          16.       Venue in this Court is proper under 28 U.S.C. §§ 1391(b)(2) and (3) because a

  substantial part of the events or omissions giving rise to the claims at issue in this Complaint

  arose in this District and Defendants are subject to the Court’s personal jurisdiction with respect

  to this action.

                                FACTUAL & LEGAL BACKGROUND

                                     Brief Legal / Procedural History

          17.       In June 2019, Plaintiff commenced an action in New York County Supreme Court

  (“NY Action”) against certain defendants for causes of action, including but not limited to unjust

  enrichment and fraud. Shortly following the commencement of the NY Action, Plaintiff

  amended his complaint and voluntarily withdrew his claim for breach of contract. After the close

  of discovery, those defendants moved for summary judgment, which Plaintiff opposed and


                                                     4
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 5 of 29




  simultaneously cross-moved to amend the complaint to include additional claims, including a

  claim for breach of contract.

         18.     While the Court granted those defendants’ motion for summary judgment, the

  Court in its order, dated October 30, 2023, stated: “[F]ollowing the completion of discovery and

  on the fully developed record, each of these alleged investments is governed by an existing and

  enforceable contract such that Mr. Kirschenbaum cannot maintain a claim sounding in unjust

  enrichment.”

         19.     The Court continued: “[B]ecause Mr. Kirschenbaum’s investments in each of the

  Aspen REIT, Aspen Coin, and Securitize are governed by a valid and enforceable contract, they

  are precluded from being the predicate of a cause of action for unjust enrichment. . . . Thus, the

  motion for summary judgment is granted.”

         20.     Plaintiff brings the instant action for damages in connection with certain securities

  violations that have recently developed, as well as for his claims for breach of contract that were

  never adjudicated in the New York Action.

                                       Organizational Structure

         21.     Elevated Returns is a limited liability company formed and currently operating

  under the laws of the State of Delaware. Pursuant to the LLC Agreement, defendant De Baets is

  its sole member and holds 100% of its membership interests. A copy of the LLC Agreement is

  attached hereto as Exhibit 1.

         22.     Mr. Thosapong Jurathavee (“TJ”), a current partner of defendant De Baets and

  former partner of Plaintiff, acts often and primarily through defendant De Baets, his attorneys, or

  his daughter Ravipan Jaruthavee.


                                                   5
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 6 of 29




         23.     Defendant De Baets, holds his interests in the REIT (defined herein), its external

  asset manager/advisor, ER REITS, LLC a/k/a ER-RE, LLC, and its interests in the St. Regis

  Aspen Hotel, through a spider web of entities and other wholly owned subsidiaries.

  Initial Meetings re: Partnership Structure and Single Asset REIT

         24.     Towards the end of 2015 and beginning of 2016, Plaintiff approached defendant

  De Baets with the idea, structure, and concept of a single asset real estate investment trust

  (“REIT”).

         25.     Plaintiff and defendant De Baets continued to correspond with respect to setting

  up a REIT and eventually began meeting at the Mercer Hotel in New York City to discuss

  implementing Plaintiff’s ideas.

         26.     During the course of these meetings, Plaintiff and defendant De Baets discussed

  potential ventures and opportunities, including the idea, concept and structure, proposed by

  Plaintiff, for the creation of a single asset REIT.

         27.     In or around February 2016, Plaintiff met again with defendant De Baets and TJ

  at the Mercer Hotel to discuss further detail of a single asset REIT, as well as to create a

  company or companies to be used in connection with other ventures.

         28.     Plaintiff had prior experience in the REIT space and had significant and diverse

  relationships that defendant De Baets and TJ wished to monetize.

         29.     Between the property holdings of defendant De Baets and TJ, together with

  Plaintiff’s experience and resources in the financial sector and REIT space, a joint venture

  ensued.




                                                        6
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 7 of 29




         30.     It was understood that defendant De Baets and TJ were to provide the initial

  assets in forming the REIT, which consisted of certain hotels.

         31.     Plaintiff agreed to coordinate and supervise day-to-day tasks pertaining to the

  asset including business development, working with legal counsel on SEC filings, and advising

  on the sale and marketing strategy of the asset.

         32.     Plaintiff and defendant De Baets continued to discuss joint venture interests, and

  after some back and forth, on or about February 26, 2016, defendant De Baets offered in writing

  via e-mail a 25% equity position stating:

                 For the ongoing business, I can offer 25% equity . . . my capital
                 partner want 50% so I split my 50% with you. I would say take this
                 as a starting point. we can always renegotiate later.

         33.     This resulted in TJ having a 50% equity interest in their joint venture, and

  defendant De Baets having the remaining 25% equity interest.

         34.     Shortly thereafter, Plaintiff and defendant De Baets entered into an oral agreement

  which also was memorialized in a written agreement, dated March 22, 2016 (“Initial

  Agreement”). The Initial Agreement is attached hereto as Exhibit 2.

         35.     Plaintiff entered into the Initial Agreement, with defendants De Baets and

  Elevated Returns, which provided that Plaintiff would be entitled to 25% of founder’s equity in

  connection to a certain “Initial Listing.” The Initial Listing changed names several times, but

  continued the same mission and objective. Moreover, at each turn, Plaintiff trusted defendant De

  Baets; he relied on and his continued (false) assurances, and as a result, expended time, resources

  and significant money into these ventures.




                                                     7
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 8 of 29




         36.     Specifically, the parties agreed that notwithstanding the sale or outcome of the

  REIT that was the basis of the Initial Agreement, the Agreement would remain in place and cover

  future investments.

         37.     While Defendants have contended that the Initial Listing failed and thus the

  Agreement terminated—this is far from true; the Initial Listing succeeded, and as a result, Plaintiff

  has sought to be compensated for his efforts.1

         38.     Plaintiff attempted to resolve the instant dispute without the need for judicial

  intervention, but all such efforts by Plaintiff have been futile. As such, Plaintiff is compelled to

  bring the instant action to seek monetary and other relief, in connection to claims for inter alia

  breaches of agreement, fraud, and others.

         39.     The Initial Agreement, amongst other things, provided a compensation structure

  relative to the creation of a single asset REIT using the Sunset Tower Hotel in Los Angeles,

  California and other future deals.

         40.     It was expressly understood between the parties hereto that the Initial Agreement

  was centered around the Sunset Tower deal, as that transaction was live at that time, but the

  Initial Agreement encompassed the terms for future deals, as well.

         41.     In fact, the Initial Agreement expressly provided in at least three (3) different

  provisions that the terms contemplated therein would apply to “future deals”.




  1      The initial intent was to raise $33.5 million in an IPO for a single-asset REIT. See St.
  Regis Aspen plan to go public on stock exchange postponed, The Aspen Times, Feb. 22, 2018,
  available online at https://www.aspentimes.com/news/local/st-regis-aspen-plan-to-go-public-on-
  stock-exchange-postponed/. As discussed below, Elevated Returns in fact raised $18 million
  through the launch of Aspen Coin.
                                                    8
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 9 of 29




         42.      Pursuant to the terms of the Initial Agreement, Plaintiff was entitled to twenty-

  five percent (25%) of the founder’s equity issued in connection with the formation of an advisor

  company.

         43.      The Initial Agreement provides that the foregoing arrangement will stay in place

  with future successful deals. Ex. 2 at 2.

         44.      Defendant De Baets confirmed the flexibility and ongoing validity of the Initial

  Agreement irrespective of the underlying asset repeatedly, including in writing by email dated

  May 24, 2017.

         45.      Defendant De Baets also stated in sworn testimony, “I sold the hotel and in order

  to bring the experiment to a tangible outcome we decided to replace the underlying asset from

  the Sunset Tower to the St. Regis Aspen.”

         46.      Defendant De Baets further testified that the Initial Agreement between the

  parties was never terminated.

         47.      Plaintiff was instrumental and contributed significantly to several projects under

  the Initial Agreement, including but not limited to the following:

                  a.     the creation of the Sunset Tower REIT;

                  b.     the creation of the Aspen REIT and creating Aspen Coin2;

                  c.     the acquisition of a certain interest in Securitize;



  2
          Notably, Aspen REIT, Inc., as well as Aspen Digital, Inc. were one and the same; they
  were the simple evolution of Sunset Tower REIT, Inc. Aspen REIT, Inc. and Aspen Digital, Inc.
  were formerly known as Sunset Tower REIT, Inc. See Form A-1 filed with the SEC, attached
  hereto as Exhibit 10, wherein defendant De Baets changed the name from Sunset Tower REIT,
  Inc. to Aspen REIT, Inc. to Aspen Digital, Inc.

                                                    9
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 10 of 29




                   d.     the development of Elevated Returns/ER Global; and

                   e.     the capital raise for the acquisition of 21% of Seamico Securities.

           48.     As described more fully below, Plaintiff also utilized his relationships to facilitate

   revenue, opportunities and dealings for defendant De Baets and TJ and their related affiliates.

           49.     In addition to the Initial Agreement, the parties entered into additional contracts,

   including, a certain Purchase Agreement dated October 2, 2018, and a certain Series A Preferred

   Stock Purchase Agreement dated November 2, 2018.

                                            Sunset Tower Hotel

           50.     For close to one year, Plaintiff expended significant time and effort on the Sunset

   Tower deal in connection with the formation and listing on an exchange of a single asset REIT.

   The initial listing was “expected” to be the Sunset Tower Hotel in Los Angeles, California. See

   Ex. 2 at ¶ 1.

           51.     Through a close contact, Plaintiff brought in the law firm of Clifford Chance, LLP

   to act as counsel in connection with the Sunset Tower REIT and coordinated and assisted in

   drafting, compiling, and coordinating with legal counsel at Clifford Chance with respect to the

   S-11.

           52.     Plaintiff interfaced with the partners, legal counsel, and other senior executive

   personnel and was extensively involved in key parts in the preparation of the S-11 including:

   performing due diligence; writing offering memoranda; creating and evaluating term sheets;

   evaluating acquisition candidates and deal structures; working with investment bankers and

   commercial bankers; creating different financial models and scenarios; writing board




                                                     10
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 11 of 29




   presentations; evaluating offers and financing options; and supervising due diligence by

   prospective investors in the company.

              53.   In August 2016, Clifford Chance introduced the parties to an individual named

   Mike Wirth (“Wirth”), who in short order was hired in a part time position as the chief financial

   officer.

              54.   In order to assemble an attractive compensation package to secure Wirth, at the

   request of defendant De Baets and with the approval of all the partners, including Plaintiff and

   TJ, defendant De Baets requested that Plaintiff relinquish 5% of his 25% equity stake so that it

   could be included in a compensation package to Wirth.

              55.   Defendant De Baets also agreed to reduce his own equity interests by 5% so that

   he would remain at 20% and equal to Plaintiff.

              56.   TJ agreed to relinquish or free up 10 percentage points of his equity interests,

   reducing his interest from 50% to 40%.

              57.   On or around October 11, 2016, the law firm of Mayer Brown, LLP circulated an

   e-mail concerning ER-REITS equity interests providing the following breakdown: Elevated

   Returns 20%; Jason Kirschenbaum 20%; and Mike Wirth 20%. See Emails to and with Jason

   Kirschenbaum is attached hereto as Exhibit 3 at 1. In addition, on September 25, 2017, defendant

   De Baets confirmed Plaintiff’s interest in an email to Plaintiff. Id. at 4. Upon Wirth’s departure

   from Elevated Returns, consistent with the parties’ understanding, Plaintiff’s equity stake

   reverted to 25%.

              58.   In January 2017, Jeff Klein, owner of Sunset Tower Hotel in West Hollywood,

   California decided not to go public and list on an exchange. Although the Sunset Deal did not


                                                     11
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 12 of 29




   close as initially planned in March 2017, the Sunset Tower Hotel sold for approximately $100

   million (USD).3

          59.     Defendant De Baets paid Plaintiff $20,000 from the closing of the Sunset Tower

   Deal and stated to Plaintiff in an e-mail, dated May 24, 2017, that Plaintiff would be paid well on

   their other future dealings, such as the Aspen REIT.

          60.     Defendant De Baets made clear that Plaintiff would be entitled and should expect

   to receive significantly more money once the REIT was launched. Defendant De Baets described

   the $20,000 payment as “play money” and that the real money would come in from the St. Regis

   Aspen Deal. As such, he instructed Plaintiff “[a]ll eyes on Aspen now” and to keep working on

   the launch of the St. Regis Aspen deal. See e-mail attached hereto as Exhibit 4 at 1.

          61.     Plaintiff relied on defendant De Baet’s assurances and clear message that their

   partnership was very much intact and continued to expend time, efforts and money towards the

   original objective: the listing of a single asset REIT.

          62.     Plaintiff continued to expend his resources on their joint venture and defendant

   De Baets and TJ knew that he continued to do so, but did not inform Plaintiff that any of the

   terms of their Initial Agreement had changed or that it was terminated. To the contrary,

   defendant De Baets deliberately led Plaintiff to believe that their partnership or fee structure as

   contemplated under the Initial Agreement was fully intact.


   3
           In 2015, TJ purchased an 80% stake in the Sunset Tower Hotel for between $60-$75
   million (USD). See New Power Player Emerges at Sunset Tower Hotel, Page Six, June 28, 2015,
   available online at https://pagesix.com/2015/06/28/new-power-player-emerges-at-sunset-tower-
   hotel/. TJ’s 80% stake was put up for sale in February 2017 with a $100 million (USD) asking
   price. See New York Billionaire Pays $100 Million to Buy Out Sunset Tower Co-Owner, L.A.
   Business Journal, June 2, 2017, available online at https://labusinessjournal.com/real-estate/new-
   york-billionaire-pays-100-million-buy-out-co-o/.
                                                     12
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 13 of 29




                                  St. Regis Aspen REIT (Aspen REIT)

          63.     In or around September 2010, defendant De Baets, via an entity under his

   direction and control, 315 East Dean Associates acquired the 179 room St. Regis Aspen Hotel

   (“Aspen Hotel”) for $70 million (USD). The Aspen Hotel is currently managed by ER-RE, LLC

   f/k/a ER REITS, LLC, the asset management arm of Elevated Returns, LLC.

          64.     After the Sunset Tower deal changed direction defendant De Baets chose to

   refocus his efforts and use the Aspen Hotel instead as the underlying real estate for the single

   asset REIT.

          65.     Because the Sunset Tower REIT simply changed names, Defendants had the

   unique advantage and ability to move quickly in their efforts and launch a single-asset REIT. The

   whitepaper and the filings with the Security and Exchange Commission (SEC) for Aspen Coin

   were essentially the same whitepaper and SEC filings in connection to Aspen REIT.

          66.     Notably, Aspen REIT, Inc., and Aspen Digital, Inc. were one and the same; they

   were the simple evolution of Sunset Tower REIT, Inc.

          67.     Aspen Digital, Inc., was formerly known as Aspen REIT, Inc. and Sunset Tower

   REIT, Inc. See Form D filed with the SEC, attached hereto as Exhibit 5.

          68.     In middle of November 2017, Aspen REIT, a single asset real estate investment

   trust, filed with the SEC a Regulation A+ initial public offering to raise approximately $33.5

   million in gross proceeds.

          69.     There was no reason to think that the arrangements and understandings

   contemplated under the Initial Agreement, that were subsequently reaffirmed between the

   parties, both orally and in writing, did not continue between the parties.


                                                    13
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 14 of 29




          70.     As far as the parties were concerned, and as evidenced by the filings with the

   SEC, the Sunset Tower Hotel REIT simply changed its name and morphed into other single-asset

   REIT without any materials changes in the whitepaper or security submissions.

          71.     In January 2018, and after re-filing, the SEC fully approved Aspen REIT as a

   Single Asset REIT.

          72.     The IPO appeared set to proceed by the end of February 2018, but Elevated

   Returns abruptly canceled the sale on February 26, ostensibly in an effort to retool. It became

   apparent that defendant De Baets tanked the listing seemingly for the sole purpose of depriving

   Plaintiff from any remuneration owed to him as a member of Aspen REIT, and in an effort to

   restructure and evade his obligations to Plaintiff.

          73.     Despite the IPO being shelved, the law firm of Clifford Chance continued to work

   on the St. Regis Aspen REIT and the related St. Regis Aspen Coin projects. Plaintiff also

   continued to work on the REIT and Aspen Digital and continued to rely on the representations by

   defendant De Baets.

          74.     Throughout this process, defendant De Baets constantly reaffirmed his promises

   to Plaintiff both verbally and in writing to assure him that their structure was still intact and

   Plaintiff would remain a partner in their ventures.

          75.     For example, in April 2018, defendant De Baets confirmed Plaintiff was a partner

   in ER Global and writes in an e-mail “Please add jason as co-founder too. Lets also pin down a

   call about who gets what. The sooner the better.” See e-mail sent by defendant De Baets, dated

   April 17, 2018, attached hereto as Exhibit 6 at 1 (emphasis added).




                                                     14
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 15 of 29




            76.    During this time Plaintiff divided his time amongst other projects under the

   Elevated Returns umbrella, including other work and/or projects unrelated to the Initial

   Agreement,4 but still continued to work and create whitepaper, private placement memorandum

   and a deck for Aspen Coin—shares in the St. Regis—that were to be denominated not in bitcoin

   but in a special securitized token created specifically for the hotel’s sale, known as Aspen Coin.

            77.    In July of 2018, the private placement memorandum for Aspen Coin was

   completed, and the parties sought to raise $18 million (USD) for a 19% interest in the Aspen

   Hotel.

            78.    In or around October of 2018, defendant De Baets led Plaintiff to believe that

   (i) they could not close the Aspen Coin deal if Plaintiff didn’t contribute to the deal, and (ii) TJ

   and East Dean Associates would not contribute to this venture if Plaintiff did not believe in its

   viability and contribute as well. See e-mail from defendant De Baets to Plaintiff, dated

   September 24, 2018, attached hereto as Exhibit 7.

            79.    Plaintiff also understood clearly from defendant De Baets’ representations that in

   the event they were unable to successfully complete the raise, Plaintiff’s equity interests and

   monetary as well as non-monetary investments would be worthless and he would lose his

   interests in their venture.

            80.    As such, Plaintiff relied on the foregoing representations made to him by

   defendant De Baets, and on or around October 4, 2018, Plaintiff wired a total amount of

   approximately $1,360,000 in connection with the venture.


   4
          Interestingly, Defendants have attempted to use payments that were made for this
   unrelated work performed by Plaintiff to claim that Plaintiff was duly compensated for his efforts
   in connection to the Initial Agreement and its subsequent affirmations. This is patently false.
                                                    15
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 16 of 29




          81.     In October 2018, Aspen Coin closed at the full $18 million (USD). TJ and East

   Dean Associates contributed $9 million dollars; defendant De Baets contributed $1.27 million

   (USD), and Plaintiff contributed over $1.36 million (USD), reaffirming the partnership between

   defendant De Baets and Plaintiff.

          82.     Plaintiff was led to believe by defendant De Baets that if he failed to invest the

   $1.36 million, his venture with Defendants would fail. Defendant De Baets needed to show his

   Thai partners there was an investor in the United States that was willing to invest in the venture

   with Defendants. Plaintiff understood that if he did not place this investment, he would lose the

   time and money he had invested with Defendants.

          83.     Defendant De Baets shook Plaintiff’s hands and re-affirmed their partnership.

          84.     Plaintiff’s efforts and ideas caused defendant De Baets to realize significant

   profits and caused defendant De Baets to successfully launch Aspen Digital Token, using the St.

   Regis Aspen Hotel.

          85.     Based on a recent estimation, ER Global has a current pre-money valuation of $40

   million (USD).

          86.     As such, Plaintiff’s 25% share equates to (at the very least) $10 million (USD).

                                Securitize, Seamico, and Other Ventures

          87.     Plaintiff was instrumental in the capital raises for the acquisition of certain

   interests in Securitize, Seamico and other ventures, which fall under the Elevated Returns

   umbrella.




                                                    16
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 17 of 29




          88.     Subsequent to the successful raise for Aspen Coin, the parties were introduced to

   a company known as Securitize, which provided a compliance platform and protocol for

   digitizing securities in the blockchain.

          89.     In November 2018, Securitize, a company led by Jaimie Finn and Carlos

   Domingo, entered into a Series A Preferred Stock Purchase Agreement (“Transaction”), whereby

   in exchange for One Million Dollars ($1,000,000) paid collectively by Plaintiff, and his partners,

   defendant De Baets, TJ, and defendant Elevated Returns, LLC would receive Series A Preferred

   Stock at a par value of $.00001 per share interests in Securitize.

          90.     On November 8, 2018, defendant De Baets sent Plaintiff a text message informing

   him that he needed to pay for his investment in Securitize with his digital currency in the form of

   Aspen Coin.

          91.     Plaintiff’s investment, the sum of Three Hundred and Thirty-Three Thousand

   Dollars ($333,000) (“Investment”), was his 1/3 share of the total One Million Dollar

   ($1,000,000) fee (“Fee”) that was earned by Plaintiff and his former partners, defendant De

   Baets and TJ in connection to the raise done on behalf of Aspen Coin.

          92.     Instead of Plaintiff being paid out his share of the Fee, Plaintiff agreed to invest

   his share of the Fee in the form of digital currency (Aspen Coin), together with his former

   partners investment in the same form of digital currency, into Securitize.

          93.     Plaintiff’s investment of significant monies in both Securitize and Aspen Coin

   guaranteed the success of the Aspen Coin venture. Plaintiff’s contributions were material to the

   creation and success of the St. Regis Aspen REIT and Aspen Coin.




                                                    17
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 18 of 29




          94.     On information and belief, the investment in Securitize was made by Elevated

   Returns.

          95.     However, unbeknownst to Plaintiff, in or around July 2020, Securitize elected to

   terminate the Transaction and returned the sum of One Million Dollars ($1,000,000) to defendant

   315 East Dean Associates. See Transfer Request Form, attached hereto as Exhibit 8.

          96.     315 East Dean Associates, is an entity believed to be under the direction and

   control of defendant De Baets and TJ.

          97.     The redemption of shares in Securitize and return of funds in connection

   therewith, included Plaintiff’s Investment.

          98.     While Plaintiff has made demands for the return of his Investment, to date, he has

   not received his Investment or any portion thereof.

          99.     Moreover, despite counsel for Defendants assurances that Plaintiff “retains his

   investments” in Securitize, Plaintiff recently discovered that his Investment was in fact not

   retained by Securitize, as his Investment was redeemed by defendant, and Plaintiff’s monies

   were sent to defendant Stephane De Baets via defendant 315 East Dean Associates. See March

   26, 2019 Letter, attached hereto as Exhibit 9.

          100.    To date, Defendants have failed to make any distributions from the monies

   invested with Securitize or his other investments with his partners, and has denied Plaintiff the

   ability to liquidate or redeem his interests in same.




                                                    18
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 19 of 29




                            Recent Developments & Market Manipulations

          101.    Defendants have engaged in a fraudulent scheme to deceive the public into

   believing that there is an increased demand and consequently less supply of Aspen Coin by

   creating a “Buy-Back Program.”

          102.    Under the current buy-back program, some Defendants agreed to buy-back up to

   $250,000 worth of token in an effort to reduce the supply of Aspen Coin.

          103.    In fact, Defendants issued press releases that claim they have bought back over

   20,000 tokens at an average price of 3.40 per token.




          104.    Defendants have touted that “token[s] are up around 320%.” To date, there have

   been six (6) buy-back programs. However, Plaintiff has been unable to liquidate his tokens or sell

   them as part of any buy-back program.




                                                   19
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 20 of 29




            105.   Defendant De Baets has stated that Aspen Coin is the only security token with

   “any form of volume and demand.”5 The foregoing representation is far from the truth as there is

   no natural liquidity through buyers and sellers in the marketplace and there is no consistent

   volume.

            106.   Defendants have consistently maintained on their website, blog posts, social

   media accounts, and elsewhere that Aspen Digital tokens can be sold back to Defendants through

   their Buy Back program, and that Defendants agreed to buy back up to $250,000 worth of token

   in an effort to reduce the supply of Aspen Coin and create further false liquidity.

            107.   Notwithstanding the foregoing representations, Plaintiff has attempted numerous

   times to sell his tokens, yet most of such attempts have been futile or below the ostensible market

   value.

            108.   Defendants have engaged in this scheme to avoid making distributions to Plaintiff

   (and others) for the true value of the tokens and/or in an effort to manipulate the market and

   inflate volume in an intentional effort to artificially inflate volumes and create a façade that there

   is liquidity and maintain the values at certain levels.

            109.   Plaintiff has made numerous attempts to sell his tokens at an approximate price of

   $3.40, but only a de minimis portion of Plaintiff’s tokens have been purchased.

            110.   It is apparent that defendant De Baets, the sole board director and decision-maker

   for the buy-back program has manipulated the program to create an illusion that there is

   liquidity, demand, and that the asset is trading above $1, all to benefit himself.




   5
            Twitter Post, Oct. 16, 2023, available online at https://x.com/StephaneDeBaets/status/.
                                                     20
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 21 of 29




           111.    Most recently, between April 18, 2024 and May 18, 2024, Plaintiff attempted

   nearly a dozen times to sell his tokens at or around $3.40, but only an insignificant portion of

   such trades were executed.

           112.    In addition, between May 20, 2024 and June 20, 2024, Plaintiff reduced his “sell

   price” to an amount between $3.35 and $3.34, but despite said reduction, only an insignificant

   number of tokens were ever sold.

           113.    In fact, upon several attempts to sell such tokens, Plaintiff was contacted by T-

   Zero, a blockchain-based trading platform that defendant De Baets has heavily invested into,

   which has a checkered past with the Securities and Exchange Commission, with inquiries as to

   the reason for Plaintiff’s trade.

           114.    Despite Plaintiff’s response that such trades were being done in connection to the

   buy-back program, all such trades were terminated.

           115.    The buy-back program is a farce. Defendants have engaged in this scheme for the

   sole purpose of controlling the market and in an effort to create an illusion of volume, demand,

   and liquidity, which does not exist.

           116.    Despite the fact that Defendants have marketed the buy-back program as a way to

   redeem a person’s investment in Aspen Coin, the only result has been a false sense of liquidity,

   increased value of the token, and increased volume on the trading platform.

           117.    Defendants have also suspended distributions thereby effectively trapping

   Plaintiff without any recourse to exit his investment or receive any of the profits that he should

   otherwise be entitled to.




                                                    21
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 22 of 29




                                               COUNT I
                                            Declaratory Relief
                                          Against All Defendants

           118.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 117 above as if more fully set forth at length herein.

           119.    There is an actual controversy between the parties regarding the nature of the

   legal relationship between Plaintiff and Defendants

           120.    Thus, there is an actual controversy within the jurisdiction of this Court pursuant

   to 28 U.S.C. §§ 2201 and 2202.

           121.    A justiciable controversy exists between Plaintiff and defendant De Baets as to

   their rights, duties, and responsibilities as related to the existence of a partnership, joint venture,

   or other equity interest in Elevated Returns, 315 East Dean Associates, and Aspen Digital.

           122.    Absent a declaration, Defendants will continue to wrongfully deny the existence

   of the partnership, joint venture, or other equity interest, and thereby cause Plaintiff harm.

           123.    There thus exists a controversy of sufficient immediacy and reality to warrant the

   issuance of a declaratory judgment of a partnership, joint venture, or other equity interest

   between Plaintiff and Defendants.

           124.    A judicial declaration is necessary and appropriate so that Plaintiff may ascertain

   his rights regarding his partnership and enforce the same against Defendants.

           125.    Plaintiff is entitled to a declaratory judgment that he holds a 25% equity interest

   in all ventures in connection with the Initial Agreement and the agreements stemming from it.




                                                     22
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 23 of 29




                                               COUNT II
                                           Breach of Contract
                                          Against all Defendants

          126.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 125 above as if more fully set forth at length herein.

          127.    Plaintiff and Defendants entered lawful and enforceable agreements.

          128.    Plaintiff has fully performed all of the obligations required to be performed by

   him.

          129.    By reason of the foregoing, Defendants have breached the agreements with

   Plaintiff, and continue to breach same by inter alia failing to make requisite distributions or

   provide an accounting.

          130.    By reason of the foregoing, Plaintiff is entitled to damages in an amount to be

   determined but not less than $1.36m.

                                            COUNT III
                                            Conversion
            Against Defendants De Baets, Elevated Returns, and 315 East Dean Associates

          131.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 130 above as if more fully set forth at length herein.

          132.    A portion of the funds transferred to 315 East Dean Associates, Inc., from

   Securitize, did not belong to Defendants, but, rather, belonged to Plaintiff.

          133.    Defendants committed the wrongful acts described herein without authority to do

   so.

          134.    Defendants committed these acts intentionally and without Plaintiff’s knowledge

   and have interfered with Plaintiff’s rights to possess the converted funds.


                                                    23
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 24 of 29




          135.    By reason of the foregoing, Plaintiff has been damaged in an amount to be

   determined at trial.

                                            COUNT IV
                                            Civil Theft
            Against Defendants De Baets, Elevated Returns, and 315 East Dean Associates
          136.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 135 above as if more fully set forth at length herein.

          137.    Plaintiff is the rightful owner of a portion of the funds transferred to 315 East

   Dean Associates, Inc., from Securitize.

          138.    Defendants have knowingly, without authorization, obtained and exercised

   control over the funds belonging to Plaintiff.

          139.    Defendants did so with the intent of permanently depriving Plaintiff of his

   property.

          140.    Defendants’ theft has damaged Plaintiff in an amount to be proved at trial.

          141.    Pursuant to C.R.S. § 18-4-405, Plaintiff is entitled to recover from Defendants

   three times the amount of his actual damages for theft, as well as the costs and reasonable

   attorney fees associated with this action.

                                               COUNT V
                             Violation of Section 20(a) of the Exchange Act
                                      Against Defendant De Baets

          142.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 141 above as if more fully set forth at length herein.




                                                    24
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 25 of 29




          143.    Defendant De Baets participated in the operation and management of Defendants’

   business, including the oversight of the markets for certain digital tokens, and conducted and

   participated, directly and indirectly, in the conduct of Defendants’ business affairs.

          144.    Because of his senior position, defendant De Baets knew the adverse non-public

   information regarding Defendants’ business practices.

          145.    As an officer and/or director of a publicly owned company, defendant De Baets

   had a duty to disseminate accurate and truthful information with respect to Defendants’ financial

   condition and results of operations, and to correct promptly any public statements issued by

   Defendants which had become materially false or misleading.

          146.    Because of his position of control and authority as a senior officer, defendant De

   Baets was able to, and did, control the contents of the various reports, press releases and public

   filings which Defendants disseminated in the marketplace.

          147.    Defendant De Baets exercised their power and authority to cause Defendants to

   engage in the wrongful acts complained of herein.

          148.    Defendant De Baets therefore, was a “controlling person” of Defendants within

   the meaning of Section 20(a) of the Exchange Act. In this capacity, he participated in the

   unlawful conduct alleged which artificially inflated the market price of Aspen Digital Token.

          149.    Defendant De Baets, therefore, acted as a controlling person of Defendants.

          150.    By reason of his senior management positions and/or being a director of

   Defendants, defendant De Baets had the power to direct the actions of, and exercised the same to

   cause, Defendants to engage in the unlawful acts and conduct complained of herein.




                                                    25
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 26 of 29




           151.    Defendants exercised control over the general operations of Defendants and

   possessed the power to control the specific activities, which comprise the primary violations

   about which Plaintiff.

           152.    Defendants are liable pursuant to Section 20(a) of the Exchange Act for the

   violations committed by Defendants.

                                                 COUNT VI
                            Violation of Section 9(a) and 9(f) of the Exchange Act
                                           Against All Defendants

           153.    Plaintiff repeats and re-alleges each of the allegations contained in paragraphs 1

   through 152 above as if more fully set forth at length herein.

           154.    Defendants carried out a plan, scheme and course of conduct which was intended

   to and, did: (1) deceive the investing public, including Plaintiff and other Class members, as

   alleged herein; (2) engaged in a scheme to inflate the price of Aspen Digital; and (3) mislead and

   caused Plaintiff to sell securities at artificially manipulated prices.

           155.    In furtherance of this unlawful scheme, plan and course of conduct, Defendants,

   and each of them, took the actions set forth herein.

           156.    Defendants (a) employed devices, schemes, and artifices to defraud; (b) made

   untrue statements of material fact and/or omitted to state material facts necessary to make the

   statements not misleading; and (c) engaged in acts, practices, and a course of business that

   operated as a fraud and deceit upon the purchasers of securities in an effort to maintain

   artificially high market prices for certain digital tokens in violation of Sections 9(a) and 9(f) of

   the Exchange Act.




                                                      26
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 27 of 29




          157.    All Defendants are sued either as primary participants in the wrongful and illegal

   conduct charged herein or as controlling persons as alleged below.

          158.    By virtue of the foregoing, Defendants made statements which were at the time

   and in the light of the circumstances under which they were made, false or misleading with

   respect to the value of securities, which Defendants knew or had reasonable ground to believe

   were false or misleading.

          159.    Defendants, individually and in concert, directly and indirectly, by the use, means

   or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

   continuous course of conduct to make said false or misleading statements with respect to the

   value of securities, which Defendants knew or had reasonable grounds to believe were false or

   misleading.

          160.    Each of the Defendants’ primary liability, and controlling person liability, arises

   from the following facts: (1) defendant De Baets was a high-level executive, director, and/or

   agent of Defendants during all relevant times and members of Defendants’ management team or

   had control thereof; (2) Defendant De Baets, by virtue of his responsibilities and activities as a

   senior officer and/or director of Defendants, was privy to and participated in the creation,

   development and reporting of Defendants’ financial condition; (3) Defendant De Baets enjoyed

   significant personal contact and familiarity with the other Defendants and was advised of and

   had access to other members of Defendants’ management team, internal reports and other data

   and information about Defendants’ finances, operations, and sales at all relevant times; and (4)

   Defendant De Baets was aware of Defendants’ dissemination of information to the investing

   public which he knew or recklessly disregarded was materially false and misleading.


                                                    27
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 28 of 29




          161.    At the time of said misrepresentations and omissions, Plaintiff was ignorant of

   their falsity, and believed them to be true. Had Plaintiff and the marketplace known the truth

   regarding the true value of the securities and Defendants’ price manipulation, which was not

   disclosed by Defendants, Plaintiff would not have transacted for Defendants’ securities, or, if he

   had, he would not have done so at the artificially inflated prices.

          162.    By virtue of the foregoing, Defendants violated Section 9(a) and 9(f) of the

   Exchange Act, 15 U.S.C. § 78i (a) and 78i (f).

          163.    As a direct and proximate result of Defendants’ conduct as described herein,

   Plaintiff have suffered significant damages and are entitled to such damages from Defendants,

   jointly and severally.

                                             CONCLUSION

          WHEREFORE, Plaintiff, Jason Kirschenbaum, demands declaratory relief, judgment

   against the Defendants named hereinabove for damages in an amount to be determined at trial of

   this matter, together with reasonable attorney’s fees, the costs and disbursements of this action

   and such other, further and/or different relief as the Court deems just and proper.

                                            JURY DEMAND

          Plaintiff demands a jury on all claims so triable.

          Dated this 15th day of July, 2024, in Denver, Colorado.

                                                 s/Benjamin W. Hudgens
                                                 Benjamin W. Hudgens
                                                 RICHARDS CARRINGTON, LLC
                                                 1444 Blake Street, Denver, Colorado 80202
                                                 Telephone: 303-962-2690
                                                 Email: ben@richardscarrington.com



                                                    28
Case No. 1:24-cv-01950-CNS-KAS Document 1 filed 07/15/24 USDC Colorado pg 29 of 29




                                      s/Asher Gulko
                                      Asher Gulko, admission pending
                                      GULKO SCHWED, LLP
                                      525 Chestnut Street, Suite 207
                                      Cedarhurst, New York 11516
                                      Telephone: 212-500-1312 Main
                                      Email: Asher@gulkoschwed.com

                                      Attorneys for Plaintiff




                                        29
